Case 1:25-cv-00165-RDA-IDD   Document 1-1   Filed 01/30/25   Page 1 of 5 PageID# 29




           EXHIBIT 1
Case 1:25-cv-00165-RDA-IDD     Document 1-1             Filed 01/30/25   Page 2 of 5 PageID# 30




                  CODE OF VIRGINIA
                               AS AMENDED

            To ADJOURNMENT OF GENERAL ASSEMBLY 1904
                TOGETHER WITH ALL OTHER STATUTES OF A
                   GENERAL AND PERMANENT NATURE THEN
                      IN FORCE, INCLUDING TAX BILL


                              ANNOTATED

                        CONSTITUTION OF VIRGINIA

            CONSTITUTION OF THE UNITED STATES, DECLARAlION OF INDEPEND-
                          ENCE, ARTICLES OF CONFEDERATION



               PUBLIS11ED BY AUT1101IlTY OF THE GENERAL ASSEMBLY


                                     EDITED BY
                         JNO. GARLAND            POLLARD
                                 OF THE RICIDIOND BAR




                                  IN TWO VOLUMES
                                     VOL. 2


                                  ST. PAUL, MINN.
                             WEST PUBLISHING CO.
                                         1904
Case 1:25-cv-00165-RDA-IDD   Document 1-1        Filed 01/30/25   Page 3 of 5 PageID# 31




                                     COPYRIGHT,   1904,
                                            BY
                                 JNO. GARLAND POLLARD.
Case 1:25-cv-00165-RDA-IDD         Document 1-1             Filed 01/30/25           Page 4 of 5 PageID# 32



                  289T                     ACTIONS FOR INJURIES.                          (Tit. 41
                     409. See, generally, Dillard v. Collins. 25 Grat. 343; Adams v. Lawson, 17
                     (rat. 250, 94 Am. Dec. 45.5; as to inadequate damages, Blackwell v. Lan-
                     dreth, 90 Va. 748, 19 S. E. 791.
                       Pleadings.-A publication containing insulting words may be declared on
                     under the statute, though it be libo1ous under the comonin law, Chatlin v.
                     Lynch, 83 Va. 106, 1 S. E. 803; Payne v. Tancil, 98 Va. 262, 35 S. E. 725.
                       An allegation that the words used are, "from their usual construction and
                     common acceptation, construed as insults, and tend to violence and breach
                     of the peace," makes the declaration one under the statute, though words used
                     are objectionable at common law. Haskell v. Bailey, 63 Fed. 873, 11 C. C.
                     A. 476.
                        Declaration is demurrable unless it sufliciently sets out either a case of
                     common-law slander or an insult under the statute. Hogan v. Wilmoth, 10;
                     Grat. 80.
                        The common law and statutory eauses of action cannot be blended in one
                     count. Moseley v. Moss, 6 Grat. 534; Hogan v. Wilmoth, 16 Grat. 80; Challin
                     v. Lynch, 83 Va. 106, 1 S. E. 803.
                        Declaration must aver that the words from the usual construction and
                     common acceptation are construed as insults, and tend to violence and breach
                     of the peace, or else employ some other equivalent averment to denote that
                     the words are actionable under the statute. Hogan v. Wilmoth, 16 Grat. 80;
                     Chatfin v. Lynch, 83 Va. 106. 1 S. E. 803.
                        Where the words are not charged to have been spoken of or concerning the
                     plaintiff, and there is nothing which can, by fair construction, apply to the
                     plaintif, the declaration will be insufficient. Cave v. Shelor, 2 Munf. 193;
                     Donaghe v. Rankin, 4 Munf. 261.
                        In an action for a statutory slander, the plaintiff must declare under the
                     statute. If lie does not, his declaration must set out a common-law slander,
                     and if the words charged do not amount to slander they cannot be helped by
                     the innuendo. Moseley v. Moss, 6 Grat. 534.
                        A declaration laying the charge in the alternative, viz., that the defendant
                     spoke words or words of like import, is good after verdict. Bell v. Bugg, 4
                     Munf. 260.
                        It is not place where libelous article is printed, but the place where it is
                     published and circulated, that makes words actionable hereunder, making one
                     who procured their publication liable therefor. Haskell v. Bailey, 63 Fed. S73,
                     11 C. C. A. 476.
                        Evidence in nhitigation of damages, see Sec. 3375 and notes.
                        Declaration for slander should always contain a count under this section.
                        For monographie note on Libel and Slander, see Bourland v. Eidson, 8
                     Grat. 27, Va. Rep. Ann.
                        Form of declaration in trespass on the case for slander, under the statute
                     of Virginia, 4 Min. (3d Ed.) 1711.

                 Sec. 2897a.    To prevent the unauthorized use of thce name or picture
                                 of any person for the purpose of trade or for adver-
                                 tising purposes.
                    A person, firm, or corporation that knowingly uses for advertising
                 purposes, or for the purposes of trade, the name, portrait, or picture of
                 any living person, resident in the State, without having first obtained the
                 written consent of such person, or, if a minor, of his or her parent or
                 gtiardian, as well as that of said minor, shall be deemed guilty of a
                 misdemeanor and be fined not less than fifty nor more than one thou-
                 sand dollars. Any person whose name, portrait, or picture is used
                 within this State for advertising purposes or for the purposes of trade,
                 without the written consent first obtained as above provided, may main-
                 tain a suit in equity against the person, firm, or corporation so using
                 his name, portrait, or picture, to prevent and restrain the use thereof;
                 and may also sue and recover damages for any injuries sustained by
                      (1524)
Case 1:25-cv-00165-RDA-IDD            Document 1-1             Filed 01/30/25           Page 5 of 5 PageID# 33



             Ch.137)                    ACrwOS FOu INJumIs.                             § 200

            reason of such use, and if the defendant shall have knowingly used
            such person's name, portrait, or picture in such manner as is forbidden
            or declared to be unlawful by this act, the jury, in its discretion, may
            award exemplary damages. (190 1, p. 111.)

             Sec. 2898. For wrongful distress, &c.
                If property be distrained for any rent not due, or attached for aiv
             rent not accruing, or taken under any attachment sued out without good
             cause, the owner of such property may, in an action against the party
             suing out the warrant of distress or attachment, recover damages for
             the wrongful seizure, and also, if the property be sold, for the sale
             thereof. (Code 1849, p. 589, c. .18, § 3.)
                   In general.-This section was designed to meet both the case where no
                 rent is due or accruing and the ease where the distress or attachment is for
                 more than is due or accruing. Rep. Rev. 1841), 735, note.
                   A landlord who employs an agent to lease his property and receive rents
                 is not liable in damages for the act of the agent in unlawfully suing out a
                 distress warrant against the tenant, unless lie directed or approved the pro-
                 ceedings had under the distress warrant, or failed to repudiate such proceed-
                 ings after full knowledge of them. Fishburne v. Engledove, 91 Va. 548, 22
                 S. E. 354.
                   The circumstance that the party distrained upon sued out a writ of re-
                 plevin, which was never prosecuted, will not prevent him from maintaining a
                 case for the wrongful distress. Olinger v. Mc('hesney, 7 Leigh, 660.
                   Pleadings.-Plaintiff may elect to bring either trespass or case. Olinger
                 v. McClhesney, 7 Leigh, 660.
                    Declaration is bad on general demurrer if it does not set forth the relation
                 of landlord and tenant existing between plaintiff and defendant. Jones v.
                 Murdaugh, 2 Leigh, 447.
                   Evidence.-In this case a judgment in favor of tenant in action of unlaw-
                 ful detainer brought against him is no evidence that no rent was due at the
                 time the distress warrant was sued out. Fishburue v. Engledove, 91 Va. 54S.
                 22 S. E.354.
                    A variance between the contract of lease as alleged and as proved will be
                 fatal. Olinger v. MclChesney, 7 Leigh, 000.
                    Measure of damages.-In the absence of any charge of fraud, malice, op-
                 pression, or other suecial aggravation, the measure of the plaintiff's damages
                 is compensation for the injury suffered. Fishburne v. Engledove, 91 Va. 54S.
                 22 S. E. 354.
                    See 1 Barton, L. Pr. (2d Ed.) 200; 4 Mn. 131; Sams, Attachment, 170;
                 2 Barton, L. Pr. (2d Ed.) 10110.

             Sec. 2899. Replevin abolished.
               No action of replevin shall be hereafter brought.              (Code 1849, p.
             589, c. 148, § 4.)
                   See Vaiden v. Bell, 3 Rand. 448.

             Sec. 29oo.    Damages from violation of a statute, and remedy there-
                             for, and the penalty.
                Any person injured by the violation of any statute may recover from
             the offender such damages as he may sustain by reason of the viola-
             tion, although a penalty or forfeiture for such violation be thereby
             imposed, unless the same be expressly mentioned to be in lieu of such
             damages. And the damages so sustained, together with any penalty
             or forfeiture imposed for the violation of the statute, may be recovered
                                                                           (1525)
